      Case 4:19-cv-00544-MW-MAF            Document 1        Filed 11/01/19      Page 1 of 22



                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF FLORIDA
                                  TALLAHASSEE DIVISION

KINSALE INSURANCE COMPANY
       Plaintiff,

vs.                                                          CASE NO:

PULTEGROUP, INC., PULTE HOME
COMPANY, LLC, LEVELTECH, INC.,
      Defendants.
___________________________________/

                    COMPLAINT FOR DECLARATORY JUDGMENT

       KINSALE INSURANCE COMPANY (“Kinsale”) files suit against PULTEGROUP,

INC., PULTE HOME COMPANY, LLC (together, “Pulte”), and LEVELTECH, INC.

(“Leveltech”), and alleges:

                                     NATURE OF ACTION

       1.      This is an action for declaratory relief under 28 U.S.C. § 2201 to establish that

there is no insurance coverage available for Pulte or Leveltech under two commercial general

liability policies Kinsale issued to Leveltech as the Named Insured.

                                JURISDICTION AND VENUE

       2.      This Court has jurisdiction under 28 U.S.C. § 1332 because there is diversity

of citizenship and the amount in controversy exceeds $75,000, exclusive of interest and costs.

       3.      Venue is proper in this district since “a substantial part of the events … giving rise

to the claim[s] occurred” in this district. See 28 U.S.C. § 1391(b)(2). More specifically, Pulte has

demanded Kinsale indemnify Pulte for stucco repair claims pursuant to a unilateral consent

judgment entered against Pulte (the “Consent Judgment”), which resolved a state court lawsuit

venued in this district by the Florida Office of the Attorney General (“OAG”).
     Case 4:19-cv-00544-MW-MAF                Document 1     Filed 11/01/19   Page 2 of 22




       4.      All conditions precedent have occurred, been performed, or have been waived.

                                          THE PARTIES

       5.      Kinsale is an Arkansas corporation with its principal place of business in

Richmond, Virginia. Kinsale does business in Florida as a surplus lines insurer. Pertinent here,

Kinsale issued two commercial general liability policies to Leveltech as the Named Insured:

Policy No. 0100018262-0, effective from 03/21/2014 to 03/21/2015; and Policy No.

0100018262-1, effective from 03/21/2015 to 03/21/2016.

       6.      Defendant Leveltech is a Florida corporation with its principal place of business

in Florida.

       7.      Defendant PulteGroup, Inc. is a Michigan corporation with its principal place of

business in Georgia. Defendant PulteGroup, Inc. conducts business through the activities of its

subsidiaries, including through Defendant Pulte Home Company, LLC.

       8.      Defendant Pulte Home Company LLC is a Michigan limited liability company

authorized to do business in Florida and is a subsidiary of Defendant PulteGroup, Inc. Pulte

Home Company, LLC maintains offices in Florida and transacts business throughout Florida.

Upon information and belief, no member of Pulte Home Company LLC is a citizen of Arkansas

or Virginia so there is complete diversity.

   THE OFFICE OF THE ATTORNEY GENERAL’S ENFORCEMENT ACTION
AGAINST PULTE FOR VIOLATIONS OF THE FLORIDA DECEPTIVE AND UNFAIR
                      TRADE PRACTICES ACT

       9.      On 12/28/2018, the OAG filed the lawsuit styled: Office of the Attorney General,

Department of Legal Affairs, State of Florida vs. Pultegroup, Inc. and Pulte Home Company,

LLC, Case No. 2018-CA-02723, in the circuit court of the Second Judicial Circuit of Leon

County, Florida. A copy of the complaint is attached as Exhibit “A.”

       10.     The OAG’s lawsuit was “an enforcement action and an action on behalf of


                                              Page 2 of 22
    Case 4:19-cv-00544-MW-MAF             Document 1       Filed 11/01/19        Page 3 of 22




consumers for injunctive relief, equitable relief, restitution, damages, civil penalties, and

attorneys’ fees and costs for … violations of the Florida Deceptive and Unfair Trade Practices

Act[.]” (Complaint, ¶1.)

       11.     The OAG alleged that “[f]rom 2008 through 2016, Pulte sold more than 23,000

homes in Florida[, bu]t …. failed to disclose to certain home buyers that homes sold by Pulte

were not built in accordance with applicable building codes.” (¶¶10-11.)

       12.     As a result, the OAG alleges that “hundreds of homes built by Pulte in Florida

have needed repairs due to problems arising from construction defects.” (¶12.)

       13.     The OAG also alleged that “Pulte unfairly denied certain Florida homeowners’

repair claims for various reasons, including lack of homeowner maintenance, when the home’s

problems were attributable to defective construction rather than lack of maintenance.” (¶13.)

       14.     The OAG also alleged Pulte “unfairly denied certain Florida homeowners’ repair

claims without performing an adequate inspection of the home” and even withheld at least one

customer’s deposit unfairly. (¶¶14-15.)

       15.     The OAG’s complaint includes a single count for Pulte’s alleged violation of the

FDUTPA, which provides in pertinent part:

       Defendants PulteGroup, Inc. and Pulte Home Company, LLC have committed the
       following acts or practices that are unfair, deceptive, or unconscionable in willful
       violation of Chapter 501, Part II, Florida Statutes:
       a.      Failing to disclose to certain home buyers in Florida that the homes were
               being constructed in violation of applicable building codes;
       b.      Unfairly denying certain homeowners’ repair claims for various reasons,
               including lack of homeowner maintenance, when the home’s problems
               were attributable to defective construction rather than lack of
               maintenance;
       c.      Unfairly denying certain Florida homeowners’ repair claims without
               performing an adequate inspection of the home; and
       d.      Unfairly withholding a customer’s deposit in certain instances.


                                          Page 3 of 22
    Case 4:19-cv-00544-MW-MAF             Document 1        Filed 11/01/19     Page 4 of 22




(¶19.)

         16.    On behalf of the State of Florida, the OAG’s complaint seeks “equitable relief …

to redress Defendants’ violations of law.” The OAG’s complaint also seeks “statutory damages,

restitution, … equitable disgorgement for the benefit of the state and its consumers,” civil

penalties under the FDUTPA, injunctive relief, attorney’s fees, and costs.

               THE OAG’S ENFORCEMENT ACTION WAS RESOLVED BY A
                        CONSENT JUDGMENT WITH PULTE

         17.    On 12/28/2018, Pulte and the OAG entered into the Consent Judgment, which

resolved the enforcement action. A copy of the Consent Judgment is attached as Exhibit “B.”

         18.    Under the Consent Judgment, Pulte is required to pay the OAG $4,700,000; make

various changes to its business practices; and perform settlement repairs to resolve “all pending

consumer complaints to the OAG and future requests for repairs not already pending before the

OAG from consumers, who own a home built by Pulte … for a period of eighteen (18) months

from the date of the” Consent Judgment. (Consent Judgment, ¶10.)

         19.    The Consent Judgment also provides a procedure for Pulte’s prospective handling

of claims by homeowners for stucco repairs. More specifically, a “homeowner may make a

Settlement Repair Claim under paragraph 10 of this Stipulated Judgment by submitting a request

to Pulte via e-mail or by submission of a written claim form for evaluation or repair of the

home.” (¶11.) Pulte is also required to “make and maintain a record of all Settlement Repair

Claims for the duration of this Stipulated Judgment.” (¶12.) “Following receipt of a Warranty

Claim or Settlement Repair[,] Pulte shall perform a visual, in-person inspection of the home.”

(¶19.) If repairs are required, Pulte is required to provide the homeowner with “a detailed written

statement describing the repairs to be made and providing an estimated schedule for the repairs.”




                                           Page 4 of 22
       Case 4:19-cv-00544-MW-MAF             Document 1      Filed 11/01/19      Page 5 of 22




(¶20.)

                PULTE FAILED TO NOTIFY KINSALE OF THE OAG’S LAWSUIT
                 UNTIL NEARLY SIX MONTHS AFTER IT ENTERED INTO THE
                                 CONSENT JUDGMENT

          20.     Pulte first notified Kinsale of the OAG’s lawsuit nearly six months after entry of

the Consent Judgment in separate letters dated 06/19/2019. A copy of each letter is attached as

part of Composite Exhibit “C.”

          21.     Pulte demanded Kinsale defend and indemnify Pulte as an additional insured

under the policies issued to Leveltech from stucco repair claims made by homeowners Rick

Clauss and Russell Baker pursuant to the Consent Judgment.

          22.     Pulte also demanded a defense and indemnity from Leveltech, through Kinsale, as

Leveltech’s contractual indemnitee under a subcontract between Pulte and Leveltech (the

“Subcontract”) that allegedly governs Leveltech’s alleged work on Clauss and Baker’s homes. A

copy of the Subcontract is attached as Composite Exhibit “D.”

          23.     Clauss and Baker’s homes are both part of the Del Webb Ponte Vedra, which is a

development of 20 or more individual residential condominium units, town homes, or single

houses.

                                 THE KINSALE CGL POLICIES

          24.     Kinsale issued a commercial general liability policy to Leveltech as the Named

Insured, bearing Policy No 0100018262-0 and effective from 03/21/2014 to 03/21/2015. This

policy was renewed under Policy No. 0100018262-1, which was effective form 03/21/2015 to

03/21/2016. A copy of Kinsale Policy No. 0100018262-0 is attached as Exhibit “E” and a copy

of Policy No. 0100018262-1 is attached as Exhibit “F.”1



1
    For filing purposes, premium and rating information has been redacted from the policies.


                                             Page 5 of 22
    Case 4:19-cv-00544-MW-MAF            Document 1      Filed 11/01/19    Page 6 of 22




       25.    The Kinsale policies include the same endorsements and principal coverage form,

CG 00 01 10 01, which provides in pertinent part:

       SECTION I – COVERAGES

       COVERAGE         A   BODILY       INJURY     AND     PROPERTY        DAMAGE
       LIABILITY

       1.     Insuring Agreement

              a.      We will pay those sums that the insured becomes legally obligated
                      to pay as damages because of “bodily injury” or “property
                      damage” to which this insurance applies. We will have the right
                      and duty to defend the insured against any “suit” seeking those
                      damages. However, we will have no duty to defend the insured
                      against any “suit” seeking damages for “bodily injury” or
                      “property damage” to which this insurance does not apply. …
              b.      This insurance applies to “bodily injury” and “property damage”
                      only if:
                      (1)    The “bodily injury” or “property damage” is caused by an
                             “occurrence” that takes place in the “coverage territory”;
                      (2)    The “bodily injury” or “property damage” occurs during
                             the policy period; and …

       2.     Exclusions

              This insurance does not apply to: …

              a.      Expected Or Intended Injury
                      “Bodily injury” or “property damage” expected or intended from
                      the standpoint of the insured. This exclusion does not apply to
                      “bodily injury” resulting from the use of reasonable force to
                      protect persons or property.

              b.      Contractual Liability
                      “Bodily injury” or “property damage” for which the insured is
                      obligated to pay damages by reason of the assumption of liability
                      in a contract or agreement. This exclusion does not apply to
                      liability for damages:
                      (1)    That the insured would have in the absence of the contract
                             or agreement; or



                                         Page 6 of 22
Case 4:19-cv-00544-MW-MAF       Document 1       Filed 11/01/19     Page 7 of 22




             (2)    Assumed in a contract or agreement that is an “insured
                    contract”, provided the “bodily injury” or “property
                    damage” occurs subsequent to the execution of the contract
                    or agreement. Solely for the purposes of liability assumed
                    in an “insured contract”, reasonable attorney fees and
                    necessary litigation expenses incurred by or for a party
                    other than an insured are deemed to be damages because of
                    “bodily injury” or “property damage”, provided:
                    (a)    Liability to such party for, or for the cost of, that
                           party’s defense has also been assumed in the same
                           “insured contract”; and
                    (b)    Such attorney fees and litigation expenses are for
                           defense of that party against a civil or alternative
                           dispute resolution proceeding in which damages to
                           which this insurance applies are alleged. …

       j.    Damage To Property
             “Property damage” to:
             (1)    Property you own, rent, or occupy, including any costs or
                    expenses incurred by you, or any other person, organization
                    or entity, for repair, replacement, enhancement, restoration
                    or maintenance of such property for any reason, including
                    prevention of injury to a person or damage to another’s
                    property;
             (2)    Premises you sell, give away or abandon, if the “property
                    damage” arises out of any part of those premises;
             (3)    Property loaned to you;
             (4)    Personal property in the care, custody or control of the
                    insured;
             (5)    That particular part of real property on which you or any
                    contractors or subcontractors working directly or indirectly
                    on your behalf are performing operations, if the “property
                    damage” arises out of those operations; or
             (6)    That particular part of any property that must be restored,
                    repaired or replaced because “your work” was incorrectly
                    performed on it.

             Paragraphs (1), (3) and (4) of this exclusion do not apply to
             “property damage” (other than damage by fire) to premises,
             including the contents of such premises, rented to you for a period
             of 7 or fewer consecutive days. A separate limit of insurance



                                Page 7 of 22
Case 4:19-cv-00544-MW-MAF         Document 1       Filed 11/01/19     Page 8 of 22




              applies to Damage To Premises Rented To You as described in
              Section III – Limits Of Insurance.
              Paragraph (2) of this exclusion does not apply if the premises are
              “your work” and were never occupied, rented or held for rental by
              you.
              Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to
              liability assumed under a sidetrack agreement.
              Paragraph (6) of this exclusion does not apply to “property
              damage” included in the “products-completed operations hazard”.

       k.     Damage To Your Product
              “Property damage” to “your product” arising out of it or any part
              of it.

       l.     Damage To Your Work
              “Property damage” to “your work” arising out of it or any part of it
              and included in the “products-completed operations hazard”.

              This exclusion does not apply if the damaged work or the work out
              of which the damage arises was performed on your behalf by a
              subcontractor.

       m.     Damage To Impaired Property Or Property Not Physically
              Injured
              “Property damage” to “impaired property” or property that has not
              been physically injured, arising out of:
              (1)    A defect, deficiency, inadequacy or dangerous condition in
                     “your product” or “your work”; or
              (2)    A delay or failure by you or anyone acting on your behalf
                     to perform a contract or agreement in accordance with its
                     terms.

              This exclusion does not apply to the loss of use of other property
              arising out of sudden and accidental physical injury to “your
              product” or “your work” after it has been put to its intended use. …

 SECTION II – WHO IS AN INSURED
 1.    If you are designated in the Declarations as: …
       d.     An organization other than a partnership, joint venture or limited
              liability company, you are an insured. Your “executive officers”



                                  Page 8 of 22
Case 4:19-cv-00544-MW-MAF         Document 1       Filed 11/01/19      Page 9 of 22




              and directors are insureds, but only with respect to their duties as
              your officers or directors. Your stockholders are also insureds, but
              only with respect to their liability as stockholders. …

       No person or organization is an insured with respect to the conduct of any
       current or past partnership, joint venture or limited liability company that
       is not shown as a Named Insured in the Declarations.

 SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS …
 2.    Duties In The Event Of Occurrence, Offense, Claim Or Suit
       a.     You must see to it that we are notified as soon as practicable of an
              “occurrence” or an offense which may result in a claim. To the
              extent possible, notice should include:

              (1)     How, when and where the “occurrence” or offense took
                      place;
              (2)     The names and addresses of any injured persons and
                      witnesses; and
              (3)     The nature and location of any injury or damage arising out
                      of the “occurrence” or offense.

       b.     If a claim is made or “suit” is brought against any insured, you
              must:
              (1)     Immediately record the specifics of the claim or “suit” and
                      the date received; and
              (2)     Notify us as soon as practicable. You must see to it that we
                      receive written notice of the claim or “suit” as soon as
                      practicable.

       c.     You and any other involved insured must:
              (1)     Immediately send us copies of any demands, notices,
                      summonses or legal papers received in connection with the
                      claim or “suit”;
              (2)     Authorize us to obtain records and other information;
              (3)     Cooperate with us in the investigation or settlement of the
                      claim or defense against the “suit”; and
              (4)     Assist us, upon our request, in the enforcement of any right
                      against any person or organization which may be liable to
                      the insured because of injury or damage to which this
                      insurance may also apply.



                                  Page 9 of 22
Case 4:19-cv-00544-MW-MAF        Document 1        Filed 11/01/19      Page 10 of 22




       d.     No insured will, except at that insured’s own cost, voluntarily
              make a payment, assume any obligation, or incur any expense,
              other than for first aid, without our consent.

  4.   Other Insurance
       If other valid and collectible insurance is available to the insured for a
       loss we cover under Coverages A or B of this Coverage Part, our
       obligations are limited as follows:
       a.     Primary Insurance
              This insurance is primary except when b. below applies. If this
              insurance is primary, our obligations are not affected unless any of
              the other insurance is also primary. Then, we will share with all
              that other insurance by the method described in c. below.

       b.     Excess Insurance
              This insurance is excess over:
              (1)    Any of the other insurance, whether primary, excess,
                     contingent or on any other basis:
                     (a)     That is Fire, Extended Coverage, Builder’s Risk,
                             Installation Risk or similar coverage for “your
                             work”;
                     (b)     That is Fire insurance for premises rented to you or
                             temporarily occupied by you with permission of the
                             owner;
                     (c)     That is insurance purchased by you to cover your
                             liability as a tenant for “property damage” to
                             premises rented to you or temporarily occupied by
                             you with permission of the owner; or
                     (d)     If the loss arises out of the maintenance or use of
                             aircraft, “autos” or watercraft to the extent not
                             subject to Exclusion g. of Section I – Coverage A –
                             Bodily Injury And Property Damage Liability.

              (2)    Any other primary insurance available to you covering
                     liability for damages arising out of the premises or
                     operations for which you have been added as an additional
                     insured by attachment of an endorsement.

              When this insurance is excess, we will have no duty under
              Coverages A or B to defend the insured against any “suit” if any
              other insurer has a duty to defend the insured against that “suit”. If


                                  Page 10 of 22
Case 4:19-cv-00544-MW-MAF          Document 1         Filed 11/01/19     Page 11 of 22




               no other insurer defends, we will undertake to do so, but we will be
               entitled to the insured’s rights against all those other insurers.

               When this insurance is excess over other insurance, we will pay
               only our share of the amount of the loss, if any, that exceeds the
               sum of:
               (1)     The total amount that all such other insurance would pay
                       for the loss in the absence of this insurance; and
               (2)     The total of all deductible and self-insured amounts under
                       all that other insurance.

               We will share the remaining loss, if any, with any other insurance
               that is not described in this Excess Insurance provision and was not
               bought specifically to apply in excess of the Limits of Insurance
               shown in the Declarations of this Coverage Part. …

  SECTION V – DEFINITIONS …

  8.    “Impaired property” means tangible property, other than “your product” or
        “your work”, that cannot be used or is less useful because:
        a.     It incorporates “your product” or “your work” that is known or
               thought to be defective, deficient, inadequate or dangerous; or
        b.     You have failed to fulfill the terms of a contract or agreement;
        if such property can be restored to use by:
        a.     The repair, replacement, adjustment or removal of “your product”
               or “your work”; or
        b.     Your fulfilling the terms of the contract or agreement.

  9.    “Insured contract” means: …
        f.     That part of any other contract or agreement pertaining to your
               business (including an indemnification of a municipality in
               connection with work performed for a municipality) under which
               you assume the tort liability of another party to pay for “bodily
               injury” or “property damage” to a third person or organization.
               Tort liability means a liability that would be imposed by law in the
               absence of any contract or agreement. …

  13.   “Occurrence” means an accident, including continuous or repeated
        exposure to substantially the same general harmful conditions. …




                                   Page 11 of 22
Case 4:19-cv-00544-MW-MAF         Document 1       Filed 11/01/19      Page 12 of 22




  16.   “Products-completed operations hazard”:
        a.     Includes all “bodily injury” and “property damage” occurring away
               from premises you own or rent and arising out of “your product” or
               “your work” except:
               (1)    Products that are still in your physical possession; or
               (2)    Work that has not yet been completed or abandoned.
                      However, “your work” will be deemed completed at the
                      earliest of the following times:
                      (a)     When all of the work called for in your contract has
                              been completed.
                      (b)     When all of the work to be done at the job site has
                              been completed if your contract calls for work at
                              more than one job site.
                      (c)     When that part of the work done at a job site has
                              been put to its intended use by any person or
                              organization other than another contractor or
                              subcontractor working on the same project.

                      Work that may need service, maintenance, correction,
                      repair or replacement, but which is otherwise complete,
                      will be treated as completed.

        b.     Does not include “bodily injury” or “property damage” arising out
               of:
               (1)    The transportation of property, unless the injury or damage
                      arises out of a condition in or on a vehicle not owned or
                      operated by you, and that condition was created by the
                      “loading or unloading” of that vehicle by any insured;
               (2)    The existence of tools, uninstalled equipment or abandoned
                      or unused materials; or
               (3)    Products or operations for which the classification, listed in
                      the Declarations or in a policy schedule, states that
                      products-completed operations are subject to the General
                      Aggregate Limit.

  17.   “Property damage” means:
        a.     Physical injury to tangible property, including all resulting loss of
               use of that property. All such loss of use shall be deemed to occur
               at the time of the physical injury that caused it; or




                                  Page 12 of 22
Case 4:19-cv-00544-MW-MAF         Document 1       Filed 11/01/19    Page 13 of 22




        b.    Loss of use of tangible property that is not physically injured. All
              such loss of use shall be deemed to occur at the time of the
              “occurrence” that caused it. …

  21.   “Your product”:
        a.    Means:
              (1)      Any goods or products, other than real property,
                       manufactured, sold, handled, distributed or disposed of by:
                       (a)    You;
                       (b)    Others trading under your name; or
                       (c)    A person or organization whose business or assets
                              you have acquired; and

              (2)      Containers (other than vehicles), materials, parts or
                       equipment furnished in connection with such goods or
                       products.

        b.    Includes
              (1)      Warranties or representations made at any time with respect
                       to the fitness, quality, durability, performance or use of
                       “your product”; and
              (2)      The providing of or failure to provide warnings or
                       instructions.

        c.    Does not include vending machines or other property rented to or
              located for the use of others but not sold.

  22.   “Your work”:
        a.    Means:
              (1)      Work or operations performed by you or on your behalf;
                       and
              (2)      Materials, parts or equipment furnished in connection with
                       such work or operations.

        b.    Includes
              (1)      Warranties or representations made at any time with respect
                       to the fitness, quality, durability, performance or use of
                       “your work”, and




                                  Page 13 of 22
    Case 4:19-cv-00544-MW-MAF             Document 1       Filed 11/01/19     Page 14 of 22




                       (2)    The providing of or failure to provide warnings or
                              instructions.
        26.     Both policies include an Exclusion – Residential Condominiums, Townhomes,

Timeshares or Tract Housing endorsement. (See Form CAS3030 0112.) This exclusion provides

in pertinent part:

               EXCLUSION – RESIDENTIAL CONDOMINIUMS,
              TOWNHOMES, TIMESHARES OR TRACT HOUSING
        This endorsement modifies insurance provided under the following:
        COMMERCIAL GENERAL LIABILITY COVERAGE

        The following exclusion is added to this policy:
                This insurance does not apply to “bodily injury” or “property damage”
                included within the “products completed operations hazard” arising out of,
                resulting from, caused by, contributed to, or in any way related to work on
                any:
                1.     Residential condominium, town home or single house in a project
                       or development in which more than twenty (20) individual
                       residential condominium units, town homes or single houses have
                       been built by you or on your behalf, or, are in any stage of
                       development, planning or construction by you or on your behalf; or
                2.     Location which has been or becomes converted by you or on your
                       behalf into residential condominiums or town homes of more than
                       twenty (20) individual condominium units or town homes,
                       regardless of whether or not any insured knew or had involvement
                       in the conversion or the conversion is prior to, during or
                       subsequent to any insured’s work at the location; or
                3.     Timeshare development. …

        27.     Both policies also include an Exclusion – EFS (Exterior Insulation and Finish

Systems) endorsement. (See Form CAS3008 0314.) This exclusion provides in pertinent part:

         EXCLUSION – EFS (EXTERIOR INSULATION AND FINISH
                             SYSTEMS)
        This endorsement modifies insurance provided under the following:
        COMMERCIAL GENERAL LIABILITY COVERAGE



                                          Page 14 of 22
   Case 4:19-cv-00544-MW-MAF              Document 1       Filed 11/01/19      Page 15 of 22




       The following exclusion is added to this policy:
       This insurance does not apply to “bodily injury”, “property damage” or “personal
       and advertising injury” arising directly or indirectly out of, related to, or, in any
       way involving the following:
              1.      The design, manufacture, construction, fabrication, preparation,
                      distribution and sale, installation, application, maintenance or
                      repair, including remodeling, service, correction or replacement, of
                      any “exterior insulation and finish system” or any part thereof,
                      including the application or use of conditioners, primers,
                      accessories, flashings, coatings, caulking or sealants in connection
                      with such a system; or
              2.      “Your product” or “your work” with respect to any exterior
                      component, fixture or feature of any structure if an “exterior
                      insulation and finish system” or any part thereof, is used on the
                      part of that structure containing that component, fixture or feature.

       The following definition is added to the DEFINITIONS SECTION:
       “Exterior insulation and finish system” means a non-load bearing exterior
       cladding or finish system, and all component parts therein, used on any part of
       any structure, and consisting of:
       1.     A rigid or semi-rigid insulation board made of expanded polystyrene and
              other materials;
       2.     The adhesive and/or mechanical fasteners used to attach the insulation
              board to the substrate;
       3.     A reinforced or unreinforced base coat;
       4.     A finish coat providing surface texture to which color may be added; and
       5.     Any flashing, caulking or sealant used with the system for any purpose.

       28.    Both policies also include an Additional Policy Exclusions endorsement. (See

Form CAS3043 0117.) This endorsement provides in pertinent part:

                       ADDITIONAL POLICY EXCLUSIONS
       This endorsement modifies insurance provided under the following:
       COMMERCIAL GENERAL LIABILITY COVERAGE
       PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE
       LIQUOR LIABILITY COVERAGE




                                          Page 15 of 22
Case 4:19-cv-00544-MW-MAF            Document 1       Filed 11/01/19      Page 16 of 22




  The following exclusions are added to this policy: …


  PRIOR INJURY OR DAMAGE EXCLUSION
  This insurance does not apply to “bodily injury,” “property damage” or “personal
  and advertising injury” which begins or takes place before the inception date of
  this policy or before the retroactive date of this policy if claims-made coverage
  applies, regardless of whether or not such “bodily injury”, “property damage” or
  “personal and advertising injury” is known to any insured. This exclusion shall
  apply even though the nature and extent of such damage or injury may change and
  even though the damage or injury may be continuous, progressive, cumulative,
  changing or evolving, and even though the “occurrence” causing such “bodily
  injury”, “property damage” or “personal and advertising injury” may be or may
  involve a continuous or repeated exposure to substantially the same general harm
  or condition.

  If you are a contractor, builder or developer the following also applies:
  All “property damage” to units of or within a single project or development and
  arising from the same general type of harm or condition, shall be deemed to occur
  at the time of damage to the first such unit, even though the existence, nature and
  extent of such damage may change and even though the “occurrence” causing
  such “property damage” may be or involve a continuous or repeated exposure to
  substantially the same general harm or condition which also continues or takes
  place (in the case of repeated exposure to the substantially the same general harm
  or condition) during the policy period of this policy. …

  CLASSIFICATION LIMITATION EXCLUSION
  This insurance applies only to the operations that are described in the
  DESCRIPTION OF OPERATIONS shown on the Declarations page of this
  policy.

  DUTY TO DEFEND EXCLUSION
  Where there is no coverage under this policy, there is no duty to defend.

  PROFESSIONAL LIABILITY EXCLUSION
  This insurance does not apply to professional liability, malpractice, errors, or
  omissions or acts of any type including rendering or failure to render any type of
  professional service nor to any expenses or any obligation to share damages with
  or repay anyone else who must pay damages from same, unless such Professional
  Liability coverage is specifically endorsed onto this policy.




                                     Page 16 of 22
    Case 4:19-cv-00544-MW-MAF             Document 1      Filed 11/01/19      Page 17 of 22




       29.    Both policies also include an Additional Insured – Owners, Lessees, or

Contractors – Completed Operations endorsement. (See Form CG 20 37 07 04.) This

endorsement provides in pertinent part:

              ADDITIONAL INSURED – OWNERS, LESSEES, OR
               CONTRACTORS – COMPLETED OPERATIONS
       This endorsement modifies insurance provided under the following:
       COMMERCIAL GENERAL LIABILITY COVERAGE

                                          SCHEDULE

           Name of Additional Insured              Location and Description of
           Person(s) or Organization(s)              Completed Operations
        Blanket, as required by                EXCLUDES ALL NEW
        written contract;                      RESIDENTIAL CONSTRUCTION –
                                               “Your work” does not include “new
                                               residential construction”, which means
                                               any building or structure not previously
                                               occupied, and designed or intended for
                                               occupancy in whole or in part as a
                                               residence by any person or persons.
                                               “New residential construction” does not
                                               include apartments or apartment
                                               buildings or assisted living facilities.

        Information required to complete this Schedule, if not shown above,
        will be shown in the Declarations.

       Section II – Who Is An Insured is amended to include as an additional insured
       the person(s) or organization(s) shown in the Schedule, but only with respect to
       liability for “bodily injury” or “property damage” caused, in whole or in part, by
       “your work” at the location designated and described in the schedule of this
       endorsement performed for that additional insured and included in the “products-
       completed operations hazard”.




                                          Page 17 of 22
    Case 4:19-cv-00544-MW-MAF            Document 1       Filed 11/01/19    Page 18 of 22




           COUNT I – NO COVERAGE UNDER THE INSURING AGREEMENTS

          30.   Kinsale incorporates paragraphs 1 through 29.

          31.   The insuring agreement of each Kinsale policy is only triggered by “property

damage” caused by an “occurrence” during the policy period.

          32.   The insuring agreements have not been triggered because the OAG’s complaint

seeks statutory and economic damages for Pulte’s alleged violations of the FDUTPA, not

“property damage”.

          33.   The insuring agreements also have not been triggered because there is no

indication of any claim or lawsuit seeking covered damages caused by an “occurrence.”

          34.   The insuring agreements also have not been triggered because there is no

underlying claim or lawsuit for “property damage” that occurred during either Kinsale policy

period.

          35.   Accordingly, Kinsale has no duty to defend or pay any damages for Pulte or

Leveltech.

           COUNT II – NO COVERAGE FOR PULTE UNDER THE ADDITIONAL
          INSURED – OWNERS, LESSEES, OR CONTRACTORS – COMPLETED
                           OPERATIONS ENDORSEMENT

          36.   Kinsale incorporates paragraphs 1 through 29.

          37.   Each policy’s Additional Insured – Owners, Lessees, or Contractors – Completed

Operations endorsement limits coverage for additional insureds to “liability for … ‘property

damage’ caused, in whole or in part, by ‘your work’ … performed for that additional insured and

included in the ‘products-completed operations hazard’[,]” except operations involving “new

residential construction.”

          38.   There is no coverage for Pulte as an additional insured because no one, besides




                                          Page 18 of 22
    Case 4:19-cv-00544-MW-MAF              Document 1      Filed 11/01/19     Page 19 of 22




Pulte, blames Leveltech for the purported stucco-related problems with Clauss or Baker’s home.

       39.     There is also no coverage for Pulte as an additional insured because any work on

the homes of Clauss, Baker, or any other resident of the Del Webb Ponte Vedra necessarily

qualifies as “new residential construction,” which is not covered under the Additional Insured –

Owners, Lessees, or Contractors – Completed Operations endorsement.

       40.     Accordingly, Kinsale has no duty to defend or pay any damages for Pulte.

              COUNT III – NO COVERAGE FOR PULTE BECAUSE PULTE
               BREACHED THE POLICY’S TERMS AND CONDITIONS

       41.     Kinsale incorporates paragraphs 1 through 29.

       42.     As a condition to coverage, Section IV.2.d. of the policies prohibits all insureds

from “voluntarily mak[ing] a payment, assum[ing] any obligation, or incur[ring] any expense,

other than for first aid, without [Kinsale’s] consent.”

       43.     As a condition to coverage, Section IV.2.c. of the policies requires all insureds to

“[i]mmediately send [Kinsale] copies of any demands, notices, summonses or legal papers

received in connection with the claim or ‘suit’.”

       44.     Assuming arguendo that Pulte qualifies as an insured of the Kinsale policy, Pulte

breached Section IV.2.d. by failing to obtain Kinsale’s consent before entering into the Consent

Judgment.

       45.     Assuming arguendo that Pulte qualifies as an insured of the Kinsale policy, Pulte

also breached Section IV.2.c. by failing to notify Kinsale of the OAG’s lawsuit until nearly six

months after the Consent Judgment.

       46.     Accordingly, even if Pulte somehow qualifies as an insured, Kinsale has no duty

to defend or pay any damages for Pulte.




                                           Page 19 of 22
    Case 4:19-cv-00544-MW-MAF             Document 1       Filed 11/01/19     Page 20 of 22




               COUNT IV – NO COVERAGE UNDER THE RESIDENTIAL
              CONDOMINIUMS, TOWNHOMES, TIMESHARES OR TRACT
                     HOUSING EXCLUSION ENDORSEMENT

      47.      Kinsale incorporates paragraphs 1 through 29.

      48.      The Residential Condominiums, Townhomes, Timeshares or Tract Housing

Exclusion bars coverage for “property damage” “arising out of, resulting from, caused by,

contributed to, or in any way related to work on” the residential condominium, town home or

single house of Clauss, Baker, or any other resident of the Del Webb Ponte Vedra.

      49.      Accordingly, Kinsale has no duty to defend or pay any damages for Pulte or

Leveltech.

           COUNT V - NO COVERAGE UNDER VARIOUS POLICY EXCLUSIONS

      50.      Kinsale incorporates paragraphs 1 through 29.

      51.      Exclusion a. Expected or Intended Injury bars coverage to the extent any

“property damage” was “expected or intended from the standpoint of” Leveltech or any other

insured.

      52.      Exclusion b. Contractual Liability bars coverage to the extent Leveltech is

obligated to pay damages by reason of its assumption of liability in a contract or agreement.

      53.      Exclusion j.(6) bars coverage to the extent any “property that must be restored,

repaired or replaced because [Leveltech’s] work … was incorrectly performed on it.”

      54.      Exclusion k. Damage to Your Product bars coverage to the extent any product

provided by Leveltech was damaged or caused damage to other property.

      55.      Exclusion l. Damage to Your Work bars coverage for any “property damage”

arising out of or any part of Leveltech’s work and included in the “products-completed

operations hazard”.




                                          Page 20 of 22
    Case 4:19-cv-00544-MW-MAF             Document 1        Filed 11/01/19      Page 21 of 22




       56.     Exclusion m. Damage to Impaired Property or Property Not Physically Injured

bars coverage to the extent any property is less useful because it incorporates work or products

provided by Leveltech, or because Leveltech failed to fulfill the terms of its alleged subcontract

with Pulte.

       57.     The Fungi or Bacteria Exclusion endorsement bars coverage to the extent any

“property damage” “would not have occurred, in whole or in part, but for the actual, alleged or

threatened, inhalation of, ingestion of, contact with, exposure to, existence of, or presence of, any

‘fungi’ or bacteria.”

       58.     The Exclusion – EFS (Exterior Insulation and Finish Systems) endorsement bars

coverage to the extent any claimants seeks covered damages because of an exterior insulation

and finish system.

       59.     The Prior Injury or Damage Exclusion bars coverage to the extent any “property

damage” began or took place prior to the inception of either Kinsale policy period.

       60.     The Classification Limitation Exclusion bars coverage to the extent any claim or

lawsuit for “property damage” involves operations by Leveltech other than its operations as a

“Residential Framing and Concrete Contractor.”

       61.     The Professional Liability Exclusion bars coverage to the extent any “property

damage” arises out of any insured’s rendering or failure to render professional services.

       62.     Accordingly, Kinsale has no duty to defend or pay any damages for Pulte or

Leveltech.

               COUNT VII – NO COVERAGE BASED ON PUBLIC POLICY

       63.     Kinsale incorporates paragraphs 1 through 29.

       64.     It is against public policy to allow coverage for Pulte’s alleged violations of the




                                           Page 21 of 22
  Case 4:19-cv-00544-MW-MAF             Document 1         Filed 11/01/19       Page 22 of 22




FDUTPA.

    65.     Accordingly, Kinsale has no duty to defend or pay any damages for Pulte.

                                  REQUESTED RELIEF

     Kinsale respectfully requests that this Court:

     a.   Take jurisdiction and adjudicate the rights of the parties under the Kinsale policies;

     b.   Find and declare that Kinsale does not have a duty to defend Pulte or Leveltech
          from any claim or lawsuit arising out of the OAG’s enforcement action, including
          any claims or lawsuits for stucco repairs pursuant to the Consent Judgment.

     c.   Find and declare that Kinsale does not have to pay any judgment against Pulte or
          Leveltech arising out of the OAG’s enforcement action, including any claims or
          lawsuits for stucco repairs pursuant to the Consent Judgment..

     d.   Award Kinsale its costs in this action, as well as any other relief that this Court
          deems, equitable, just, and proper.


                                                      Respectfully submitted,
                                                      /s/ SINA BAHADORAN
                                                      SINA BAHADORAN
                                                      Florida Bar No. 523364
                                                      sina.bahadoran@clydeco.us
                                                      ANDRES CORDOVA
                                                      Florida Bar No. 0118147
                                                      andres.cordova@clydeco.us
                                                      Clyde & Co US LLP
                                                      1221 Brickell Avenue
                                                      Suite 1600
                                                      Miami, Florida 33131
                                                      T: 305.446.2646

                                                      ATTORNEYS FOR KINSALE




                                        Page 22 of 22
